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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 03-61089-CIV-DIMITROULEAS

THOMAS R. FARESE,
Magistrate Judge Torres

 

Plaintiff,
FLORIDA VENTURES, INC., et al., FEB Sa omy
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CLARENCE Manne :
Defendants. oe ve {avoox 3

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ORDER DENYING PLAINTIFF’S MOTION TO REQUIRE DUDE DEFENDANTS TO
PARTICIPATE IN JOINT SCHEDULING AND DISCOVERY CONFERENCE; ORDER
REQUIRING ALL DEFENDANTS TO SUBMIT A UNILATERAL SCHEDULING
REPORT UPON THE FILING OF THEIR FIRST RESPONSIVE PLEADING

THIS CAUSE is before the Court upon Plaintiff's Motion to Require Dude Defendants to
Participate in Joint Scheduling and Discovery Conference or Concede to Plaintiff's Unilaterally
Proposed Scheduling Report [DE-189], Defendants’ Response in Opposition to Plaintiffs
Motion [DE-195], Plaintiff's Reply to Defendants’ Response [DE-206], and Plaintiff's Unilateral
Proposed Scheduling Report and Discovery Report, filed herein on February 9, 2004. The Court
has carefully considered the matter and is otherwise fully advised in the premises.

In the instant Motion, Plaintiff asks this Court to require certain Defendants to participate
in a joint scheduling and discovery conference or concede to Plaintiff unilaterally submitting a
proposed scheduling report. Defendants do not concede to Plaintiff's Unilateral Proposed
Scheduling Report and Discovery Report and contend that a joint scheduling and discovery
conference is not required, at this time, because the last responding Defendant has not submitted

its first responsive pleading.

This Court’s Order of June 16, 2003 stated that unless this action was excluded under
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».ule 26(a)(1)(E), the parties were required to confer within fifteen (15) calendar days after the
filing of the first responsive pleading by the last responding defendant. Accordingly, Rule
26(a)(1)(E)(ti1) excludes an action brought without counsel by a person in custody of the United
States, a state, or a state subdivision. Fed. R. Civ. P. 26(a)(1)(E)(iin).
As the Plaintiff is currently incarcerated, this Court will excuse the parties from the
Court’s usual requirement of filing a joint scheduling report and will allow the Plaintiff to file his
Unilateral Proposed Scheduling Report and Discovery Report, filed herein on February 9, 2004.
Moreover, the Court will order all Defendants in this case to submit a unilateral scheduling
report within ten (10) days of filing their first responsive pleading. The Court notes that
although Defendants have already submitted motions to dismiss in this matter, a motion to
dismiss is not a responsive pleading. See Burns v. Lawther, 53 F.3d 1237, 1241 (11th Cir.
1995). Therefore, as the Defendants have not filed their first responsive pleadings, they are not
required to submit scheduling reports at this time. Accordingly, it is ORDERED AND
ADJUDGED as follows:
1. Plaintiff's Motion to Require Dude Defendants to Participate in Joint Scheduling
and Discovery Conference or Concede to Plaintiff's Unilaterally Proposed
Scheduling Report [DE-189] is DENIED.

2. Defendants’ request for attorneys’ fees and costs for having to oppose such
Motion is DENIED.

3. All Defendants in this case shal! submit a unilateral scheduling report within ten
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(10) days of filing their first responsive pleading in this matter.

DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida,

this [i )day of February, 2004.

Copies furnished to:

  

 

 

WILLIAM P. DIMITRGULEAS
United States District Judge

Magistrate Judge Torres
Gary M. Dunkel, Esq.
Kenneth Scherer, Esq.
Craig S. Barnett, Esq.

Avi Benayoun, Esq.
Marilynn K. Lindsey, Esq.

Thomas R. Farese
#0 1946-004

FCC Low

P.O. Box [031
Coleman, FL 33521

Aldo Beltrano, Esq.
970 North Congress Avenue
West Palm Beach, FL 33409

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